       Case 1:21-cr-00670-CJN Document 106-5 Filed 07/11/22 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO. 21-cr-670
             v.                               :
                                              :
STEPHEN K. BANNON,                            :
                                              :
                        Defendant.            :

                            DEFENDANT’S WITNESS LIST

        Name                             Topic                     Government Objections
Robert Costello, Esq.       Testimony about his                Objection to testimony about
                            interactions with the Select       advice or law provided to
                            Committee and Mr. Bannon.          Defendant per Fed. R. Evid. 401,
                                                               402 & 403; Court’s Order, ECF
                                                               No. 49.
Hon. Bennie Thompson        Testimony about the                See Government’s Objections to
(MS)                        establishment and authority of     All Witnesses, below.
Chairman, Select            the Select Committee, the
Committee                   issuance of the subpoena, and
U.S. House of               his interactions with Mr.
Representatives             Bannon.

Douglas Letter, Esq.        Testimony about the                See Government’s Objections to
General Counsel             establishment and authority of     All Witnesses, below.
U.S. House of               the Select Committee and the
Representatives             issuance of the subpoena.

Frank D’Amico               Testimony about the                Objection insofar as testimony
Special Agent               investigative steps take in this   sought is related to claims of
Federal Bureau of           case.                              government misconduct in
Investigation                                                  investigating Mr. Costello’s role
                                                               in the offense, for the reasons
                                                               articulated in Government’s
                                                               motion, ECF Nos. 85 & 101.
Kristin Amerling, Esq.      Testimony about the issuance       See Government’s Objections to
Chief Counsel &             of the subpoena and her            All Witnesses, below.
Deputy Staff Director,      interactions with Mr. Bannon.
Select Committee
U.S. House of
Representatives
       Case 1:21-cr-00670-CJN Document 106-5 Filed 07/11/22 Page 2 of 5




         Name                       Topic                    Government Objections
David Buckley          Testimony about the issuance      See Government’s Objections to
Staff Director         of the subpoena and his           All Witnesses, below.
Select Committee       interactions with Mr. Bannon.
U.S. House of
Representatives


Sean Tonolli, Esq.     Testimony about the issuance      See Government’s Objections to
Senior Investigative   of the subpoena and his           All Witnesses, below.
Counsel                interactions with Mr. Bannon.
Select Committee
U.S. House of
Representatives

Hon. Nancy Pelosi      Testimony about her role in       See Government’s Objections to
(CA)                   the establishment of the Select   All Witnesses, below.
Speaker of the House   Committee, the issuance of
U.S. House of          the subpoena, and her actions     Defendant has not proffered
Representatives        to enforce the subpoena.          relevant evidence this witness
                                                         has about any role in issuance of
                                                         subpoena or actions to enforce it.
                                                         Fed. R. Evid. 401, 402 & 403.

Hon. Liz Cheney (WY)   Testimony about her role in       See Government’s Objections to
Vice-Chair             the issuance of the subpoena      All Witnesses, below.
Select Committee       and her actions to enforce the
U.S. House of          subpoena.
Representatives

Hon. Pete Aguilar      Testimony about his role in       Defendant has not proffered
(CA)*                  the issuance of the subpoena      relevant evidence this witness
Member                 and his actions to enforce the    has about any role in issuance of
Select Committee       subpoena.                         subpoena or actions to enforce it.
U.S. House of                                            Fed. R. Evid. 401, 402 & 403.
Representatives
                                                         See Government’s Objections to
                                                         All Witnesses, below.
Hon. Jim Clyburn       Testimony about his               Defendant has not proffered
(SC)*                  submission to the jurisdiction    relevant evidence this witness
U.S. House of          of this Court to make             has about any role in issuance of
Representatives        statements regarding the          subpoena. Fed. R. Evid. 401,
                       authority of the Select           402 & 403.
                       Committee and its issuance of

                                           2
      Case 1:21-cr-00670-CJN Document 106-5 Filed 07/11/22 Page 3 of 5




        Name                        Topic                    Government Objections
                        the subpoena.                    See Government’s Objections to
                                                         All Witnesses, below.

Hon. Steny Hoyer        Testimony about his              Defendant has not proffered
(MD)*                   submission to the jurisdiction   relevant evidence this witness
U.S. House of           of this Court to make            has about any role in issuance of
Representatives         statements regarding the         subpoena. Fed. R. Evid. 401,
                        authority of the Select          402 & 403.
                        Committee and its issuance of
                        the subpoena.                    See Government’s Objections to
                                                         All Witnesses, below.

Hon. Adam Kinzinger     Testimony about his role in      Defendant has not proffered
(IL)*                   the issuance of the subpoena     relevant evidence this witness
Member                  and his actions to enforce the   has about any role in issuance of
Select Committee        subpoena.                        subpoena or actions to enforce it.
U.S. House of                                            Fed. R. Evid. 401, 402 & 403.
Representatives
                                                         See Government’s Objections to
                                                         All Witnesses, below.

Hon. Zoe Lofgren        Testimony about her role in      Defendant has not proffered
(CA)*                   the issuance of the subpoena     relevant evidence this witness
Member                  and her actions to enforce the   has about any role in issuance of
Select Committee        subpoena.                        subpoena or actions to enforce it.
U.S. House of                                            Fed. R. Evid. 401, 402 & 403.
Representatives
                                                         See Government’s Objections to
                                                         All Witnesses, below.

Hon. Elaine Luria       Testimony about her role in      Defendant has not proffered
(VA)*                   the issuance of the subpoena     relevant evidence this witness
Member                  and her actions to enforce the   has about any role in issuance of
Select Committee        subpoena.                        subpoena or actions to enforce it.
U.S. House of                                            Fed. R. Evid. 401, 402 & 403.
Representatives
                                                         See Government’s Objections to
                                                         All Witnesses, below.

Hon. Stephanie Murphy   Testimony about her role in      Defendant has not proffered
(FL)*                   the issuance of the subpoena     relevant evidence this witness
Member                  and her actions to enforce the   has about any role in issuance of
Select Committee        subpoena.                        subpoena or actions to enforce it.

                                            3
       Case 1:21-cr-00670-CJN Document 106-5 Filed 07/11/22 Page 4 of 5




         Name                           Topic                    Government Objections
 U.S. House of                                               Fed. R. Evid. 401, 402 & 403.
 Representatives
                                                             See Government’s Objections to
                                                             All Witnesses, below.

 Hon. Jamie Raskin         Testimony about his role in       Defendant has not proffered
 (MD)*                     the issuance of the subpoena      relevant evidence this witness
 Member                    and his actions to enforce the    has about any role in issuance of
 Select Committee          subpoena.                         subpoena or actions to enforce it.
 U.S. House of                                               Fed. R. Evid. 401, 402 & 403.
 Representatives
                                                             See Government’s Objections to
                                                             All Witnesses, below.

 Hon. Adam Schiff          Testimony about his role in       Defendant has not proffered
 (CA)*                     the issuance of the subpoena      relevant evidence this witness
 Member                    and his actions to enforce the    has about any role in issuance of
 Select Committee          subpoena.                         subpoena or actions to enforce it.
 U.S. House of                                               Fed. R. Evid. 401, 402 & 403.
 Representatives                                             See Government’s Objections to
                                                             All Witnesses, below.

 Stephen K. Bannon*        Mr. Bannon will testify about     Objection to testimony about
                           his interactions with Robert      advice or law provided to
                           Costello, Esq., in connection     Defendant by Mr. Costello or
                           with the Select Committee         anyone else per Fed. R. Evid.
                           subpoena.                         401, 402 & 403; Court’s Order,
                                                             ECF No. 49.


                     Government’s Objections Applying to All Witnesses

1.     The Defendant plans to elicit testimony relating to “the establishment and authority of the
       Committee” from various witnesses. The Government objects to testimony regarding the
       Committee’s compliance with rules that the Defendant has waived or that are not subject
       to jury consideration, for reasons cited in the Government pleadings, ECF Nos. 53, 71, 85
       & 101, and the Government’s objections to jury instructions, ECF Nos. 89 & 90. The
       Government also objects to testimony regarding issues of pure law, such as the
       constitutional authority of the Committee, for the reasons cited in the Government’s
       pleadings, ECF Nos. 85 & 101, and the Government’s objections to jury instructions, ECF
       Nos. 89 & 90.

2.     The Defendant plans to elicit testimony from various witnesses about their “role in the

                                                4
Case 1:21-cr-00670-CJN Document 106-5 Filed 07/11/22 Page 5 of 5




issuance of the subpoena.” The Government objects to testimony relating to Members of
Congress’s or the Committee staff’s personal opinions of the Defendant, personal motives
in voting for the Committee’s establishment, or personal motives in supporting the issuance
of the subpoena or seeking its enforcement. Fed. R. Evid 401, 402 & 403; Watkins v.
United States, 354 U.S. 178, 200 (1957) (individual member motives do not invalidate
Committee action); United States v. Libby, 475 F. Supp. 2d 73, 83 (D.D.C. 2007) (cannot
call witness solely to impeach).




                                         5
